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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


EMQORE ENVESECURE PRIVATE
CAPITAL TRUST,

      Plaintiff,                                Civ. No. 20-07324 (KM) (JBC)

      v.                                                   ORDER

BHAVDEEP SINGH, et al.,

      Defendants.



      This matter having come before the Court on motions (DE 115; DE 116;
DE 118; DE 119; DE 121) filed by defendants (1) IHH Healthcare Berhad, (2)
Khazanah Nasional Berhad, (3) New York Life Investment Management, LLC,
(4) Bhavdeep Singh, and (5) Siguler Guff & Company, LP’s (collectively, the
“Defendants”) to dismiss Emqore Envesecure Private Capital Trust’s (“Emqore”)
Amended Complaint (DE 102) for lack of personal jurisdiction pursuant to Fed.
R. Civ. P. 12(b)(2), failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(6),
improper service of process pursuant to Fed. R. Civ. P. 12(b)(4)-(5), and the
doctrines of forum non conveniens and international abstention; and the Court
having considered the submissions of the parties in support and in opposition
(DE 130; DE 135; DE 136; DE 137; DE 138; DE 139) and decided the motions
without oral argument; for the reasons stated in the Opinion filed on this date,
and for good cause shown;
      IT IS this 7th day of September, 2022
      ORDERED that Defendants’ motions to dismiss (DE 115; DE 116; DE
118; DE 119; DE 121) are GRANTED on grounds of forum non conveniens,
subject to the right of the parties upon good cause shown to reopen this action
if Defendants fail to comply with the following conditions:
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            1. Defendants consent to the jurisdiction of Indian courts and
               agree to accept service of process in India in any civil action
               timely filed by Emqore on their claims in this matter;
            2. Defendants consent to waive any statute of limitations defenses
               that would not have applied as of the date of filing of this
               action.


                                            /s/ Kevin McNulty
                                            _____________________________
                                            KEVIN MCNULTY
                                            United States District Judge
